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                           IN THE UNITED STATES COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

MASS ENGINEERED DESIGN, INC.             §
And JERRY MOSCOVITCH                     §
                                         §
          Plaintiffs, Counter-defendants §
vs.                                      §                  Civil Action No. 2:06-CV-00272
                                         §
ERGOTRON, INC., DELL, INC., and          §                  Judge Leonard E. Davis
TECH DATA CORPORATION                    §
                                         §                  JURY TRIAL DEMANDED
          Defendants,                    §
                                         §
and                                      §
                                         §
CDW CORPORATION                          §
                                         §
          Defendant and Counterclaimant §

                                            ORDER

       On this day came on to be considered Ergotron’s Motion for Leave to File Supplemental

Affidavit in Support of its Motion to Compel Discovery and for an Order Concerning Plaintiff’s

Waiver of the Attorney-Client Privilege, and the Court being of the opinion that the same should be

GRANTED, it is therefore,

       ORDERED, ADJUDGED and DECREED that the Motion for Leave to File Supplemental

Affidavit in Support of its Motion to Compel Discovery and for an Order Concerning Plaintiff’s

Waiver of the Attorney-Client Privilege be granted and that Ergotron has been granted permission to

file a supplemental affidavit in support of its Motion to Compel Discovery and for an Order

Concerning Plaintiffs’ Waiver of the Attorney-Client Privilege.

      So ORDERED and SIGNED this 28th day of January, 2008.




                            __________________________________
                            LEONARD DAVIS
                            UNITED STATES DISTRICT JUDGE
